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                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF OHIO
                                     WESTERN DIVISION

WHITES LANDING FISHERIES, INC.

                   Plaintiff, Counter-Defendant

vs.                                                                  Case No. 3:20-cv-2740
                                                                     Hon. Jack Zouhary

EDDIE C. TOWLES

                   Defendant, Counter-Plaintiff



               DEFENDANT EDDIE C. TOWLES’ OBJECTION AND ANSWER
                   TO PLAINTIFF’S ANSWER AND COUNTERCLAIM

         NOW COMES Defendant Eddie C. Towles by and through his attorneys Foster Swift

Collins & Smith PC, and Benesch, Friedlander, Coplan & Aronoff LPA, and hereby objects to and

moves to strike Plaintiff’s Counterclaim made with its Answer to Defendant’s Counterclaim for

the reason that Federal Rule of Civil Procedure 7 specifically limits allowable pleadings to those

designated in the rule and does not allow filing of a Counterclaim by Plaintiff in response to a

Counterclaim by a Defendant which raised no new, distinct claim rights held by Plaintiff. Without

waiver of its objection and demand to strike Plaintiff White’s Landing Fisheries’ invalid

Counterclaim, Defendant Towles answers as follows:

                                     AFFIRMATIVE DEFENSES

         1.        Defendant Towles denies the affirmative defenses set forth in paragraphs 1, 2, 3

and 4 of the answer.




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                                          COUNTERCLAIM

         1.        Defendant admits.

         2.        Denied.

         3.        Denied.

         4.        Denied.

         5.        Denied.

         6.        Defendant admits only that he was compelled of necessity to cut the net which had

entangled his engine in order to save and protect his vessel and passengers in the midst of heavy

weather.

         7.        Defendant agrees only that Plaintiff set trap nets in the waters of Lake Erie but

denies that the nets were legally positioned or that the marks were visible to Mr. Towles at the

moment and time of the incident.

         8.        Denied.

         9.        Denied

         WHEREFORE, Defendant Eddie C. Towles prays that all claims against him be dismissed

with prejudice and that costs and reasonable attorney fees be awarded in his favor.

                                       AFFIRMATIVE DEFENSES

         Plaintiff will please take note that DEFENDANT Eddie C. Towles will rely upon the

Affirmative Defenses set forth in his previously filed answer to Plaintiff’s Complaint and

incorporates them in full here by reference.



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                               RELIANCE ON JURY DEMAND

         Defendant relies upon the jury demand it made previously in its filed pleadings.


                                                    s/ Kelly E. Mulrane
                                                    Kelly E. Mulrane (0088133)
                                                    Benesch, Friedlander, Coplan & Aronoff LPA
                                                    Attorneys for Defendant/Counter Plaintiff
                                                    41 South High Street, Suite 2600
                                                    Columbus, OH 43215-6164
                                                    614-223-9318

Dated: February 26, 2021

                                              and

                                              FOSTER SWIFT COLLINS & SMITH PC
                                              Michael J. Liddane (P38639)
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                                      PROOF OF SERVICE

         The undersigned hereby certifies that on February 26, 2021, Defendant Eddie C. Towles’

Objection and Answer to Plaintiff’s Answer and Counterclaim was served upon the attorneys of

record of all parties to the above cause by electronic service through the Court’s e-filing system.


                                              /s/ Kelly E. Mulrane




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